Case 15-24610   Doc 1   Filed 07/20/15   Entered 07/20/15 14:55:37   Desc Main
                           Document      Page 1 of 9
Case 15-24610   Doc 1   Filed 07/20/15   Entered 07/20/15 14:55:37   Desc Main
                           Document      Page 2 of 9
Case 15-24610   Doc 1   Filed 07/20/15   Entered 07/20/15 14:55:37   Desc Main
                           Document      Page 3 of 9
Case 15-24610   Doc 1   Filed 07/20/15   Entered 07/20/15 14:55:37   Desc Main
                           Document      Page 4 of 9
Case 15-24610   Doc 1   Filed 07/20/15   Entered 07/20/15 14:55:37   Desc Main
                           Document      Page 5 of 9
Case 15-24610   Doc 1   Filed 07/20/15   Entered 07/20/15 14:55:37   Desc Main
                           Document      Page 6 of 9
Case 15-24610   Doc 1   Filed 07/20/15   Entered 07/20/15 14:55:37   Desc Main
                           Document      Page 7 of 9
Case 15-24610   Doc 1   Filed 07/20/15   Entered 07/20/15 14:55:37   Desc Main
                           Document      Page 8 of 9
Case 15-24610   Doc 1   Filed 07/20/15   Entered 07/20/15 14:55:37   Desc Main
                           Document      Page 9 of 9
